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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )                        No. 1:21-cr-114-PB-01
                                             )
JENNIFER BOSWORTH,                           )
                                             )
       Defendant.                            )

                                        INDICTMENT

The Grand Jury charges:
                                         COUNT ONE

                        [21 U.S.C. §§ 841(a)(1) & 841(b)(1)(B)(iii), (vi)
Possession with Intent to Distribute of 40 Grams and More of Fentanyl and 28 Grams and More
                                        of Cocaine Base]


       On or about April 1, 2021, in the District of New Hampshire and elsewhere, the

defendant,

                                   JENNIFER BOSWORTH,

did knowingly and intentionally possess with intent to distribute controlled substances,

specifically, 40 grams and more of a mixture and substance containing a detectable amount of N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide, also known as fentanyl, a Schedule II

controlled substance, and 28 grams and more of a mixture and substance as described in 21

U.S.C. § 841(b)(1)(B)(ii) containing cocaine base, a Schedule II controlled substance.

       In violation of Title 21, United States Code, Sections 841(a)(1) & 841(b)(1)(B)(iii), (vi).


Dated: July 12, 2021                                 A TRUE BILL

                                                     /s/ Foreperson
                                                     Foreperson
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JOHN J. FARLEY
Acting United States Attorney
District of New Hampshire


By:   /s/ Aaron G. Gingrande
      Aaron G. Gingrande
      Assistant U.S. Attorney
